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                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND
------------------------------------------------------------------------x
 Shmuel Perl,

                            Plaintiff,




          -against-                                                         C.A. No.:

 Equifax Information Services, LLC,
 Verizon Wireless Services, LLC,

                            Defendant(s).
------------------------------------------------------------------------x



                                                COMPLAINT
        Plaintiff Shmuel Perl ("Plaintiff"), by and through his attorneys, and as for his Complaint

against Defendant Equifax Information Services, LLC (“Equifax”), and Defendant Verizon

Wireless Services, LLC (“Verizon”) respectfully sets forth, complains, and alleges, upon

information and belief, the following:

                                      JURISDICTION AND VENUE

    1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367, as well as 15

        U.S.C. § 1681p et seq.

    2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), being that the

        acts and transactions occurred here, Plaintiff resides here, and Defendant transacts

        business here.

    3. Plaintiff brings this action for damages arising from the Defendant's violations of 15

        U.S.C. § 1681 et seq., commonly known as the Fair Credit Reporting Act (“FCRA”).
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                                        PARTIES

4. Plaintiff is a resident of the State of Maryland, County of Baltimore City.


5. At all times material hereto, Plaintiff was a “consumer” as said term is defined under 15

   U.S.C. § 1681a(c).


6. Defendant Equifax Information Services, LLC is a consumer reporting agency as defined

   by 15 U.S.C. § 1681a(f) and conducts substantial and regular business activities in this

   judicial district. Defendant Equifax is a Georgia corporation registered to do business in

   the State of Maryland, and may be served with process upon CSC-Lawyers Incorporation

   Service Company, its registered agent for service of process at 7 Saint Paul Street, Suite

   820, Baltimore, Maryland 21202.


7. At all times material here to Equifax is a consumer reporting agency regularly engaged in

   the business of assembling, evaluating and disbursing information concerning consumers

   for the purpose of furnishing consumer reports, as said term is defined under 15 U.S.C. §

   1681(d) to third parties.

8. At all times material hereto, Equifax disbursed such consumer reports to third parties

   under a contract for monetary compensation.

9. Defendant Verizon Wireless Services, LLC is a person who furnishes information to

   consumer reporting agencies under 15 U.S.C. § 1681s-2 with an address for service c/o

   The Corporation Trust, Incorporated, located at 2405 York Road, Ste 201, Lutherville

   Timonium, MD, 21093.
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                              FACTUAL ALLEGATIONS

10. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

   though fully stated herein with the same force and effect as if the same were set forth at

   length herein.

                                   Verizon Dispute and Violation

11. On information and belief, on a date better known to Defendant Equifax, Equifax

   prepared and issued credit reports concerning the Plaintiff that included inaccurate and

   misleading information relating to his Verizon account.

12. The inaccurate information furnished by Defendant Verizon and published by Equifax is

   inaccurate since the account contains an incorrect account status of “charged off.”

13. Upon information and belief, the Plaintiff has paid this account.

14. Despite this and the fact that the Plaintiff no longer had an obligation to Verizon, Equifax

   continues to report that the Plaintiff’s payment status as currently charged off.

15. The pay status is of significance. This field is specifically designed to be understood as

   the current status of the account. As such credit scoring algorithms take this data field

   into account when generating a credit score, and when it is showing as “charged off” it

   would cause a lower credit score to generate than a closed status.

16. In almost all instances creditors make their credit lending decisions based on these

   automatically generated credit scores.

17. For this reason, it is not appropriate to state that when the report as read as a whole

   contains enough information as to not harm the consumer, since the harm to the credit

   score is happening automatically with this false information.
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18. Equifax has been reporting this inaccurate information through the issuance of false and

   inaccurate credit information and consumer reports that it has disseminated to various

   persons and credit grantor, both known and unknown.

19. Plaintiff notified Equifax that he disputed the accuracy of the information Equifax was

   reporting on or around June 15, 2021.

20. In this dispute the Plaintiff explained that he had paid this account and should not be

   reporting as “charged off.”

21. It is believed and therefore averred that Equifax notified Defendant Verizon of the

   Plaintiff’s dispute.

22. Upon receipt of the dispute of the account from the Plaintiff by Equifax, Verizon failed to

   conduct a reasonable investigation and continued to report false and inaccurate adverse

   information on the consumer report of the Plaintiff with respect to the disputed account.

23. Had Verizon done a reasonable investigation of the Plaintiff’s dispute, it would have been

   revealed to Verizon that the current account status was improperly listed.

24. Despite the dispute by the Plaintiff that the information on his consumer report was

   inaccurate with respect to the disputed account, Equifax did not timely evaluate or

   consider any of the information, claims, or evidence of the Plaintiff and did not timely

   make an attempt to substantially reasonably verify that the derogatory information

   concerning the disputed account was inaccurate.

25. Equifax violated 15 U.S. Code § 1681i (a)(1)(A) by failing to conduct a reasonable

   investigation since it failed to delete or correct the disputed trade line within 30 days of

   receiving Plaintiff’s dispute letter.
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26. Had Equifax done a reasonable investigation of the Plaintiff’s dispute, it would have been

   revealed to Equifax that the account status was improperly listed.

27. Notwithstanding Plaintiff’s efforts, Defendants continued to publish and disseminate such

   inaccurate information to other third parties, persons, entities and credit grantors, as

   evidenced by the inquiries on the Plaintiff’s credit report in the form of hard and soft

   pulls.

28. As a result of Defendant’s failure to comply with the FCRA, the Plaintiff suffered

   concrete harm in the form of loss of credit, loss of ability to purchase and benefit from

   credit, a chilling effect on applications for future credit, and the mental and emotional

   pain, anguish, humiliation and embarrassment of credit denial.

                              FIRST CAUSE OF ACTION
                     (Willful Violation of the FCRA as to Equifax)
29. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

   fully stated herein with the same force and effect as if the same were set forth at length

   herein.

30. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et seq.

31. Equifax violated 15 U.S.C. § 1681e by failing to establish or to follow reasonable

   procedures to assure maximum possible accuracy in the preparation of the credit report and

   credit files that Equifax maintained concerning the Plaintiff.

32. Equifax has willfully and recklessly failed to comply with the Act. The failure of Equifax

   to comply with the Act include but are not necessarily limited to the following:

             a) The failure to follow reasonable procedures to assure the maximum possible

                accuracy of the information reported;
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           b) The failure to correct erroneous personal information regarding the Plaintiff

               after a reasonable request by the Plaintiff;

           c) The failure to remove and/or correct the inaccuracy and derogatory credit

               information after a reasonable request by the Plaintiff;

           d) The failure to promptly and adequately investigate information which

               Defendant Equifax had notice was inaccurate;

           e) The continual placement of inaccurate information into the credit report of the

               Plaintiff after being advised by the Plaintiff that the information was inaccurate;

           f) The failure to continuously note in the credit report that the Plaintiff disputed

               the accuracy of the information;

           g) The failure to promptly delete information that was found to be inaccurate, or

               could not be verified, or that the source of information had advised Equifax to

               delete;

           h) The failure to take adequate steps to verify information Equifax had reason to

               believe was inaccurate before including it in the credit report of the consumer.

33. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage by

   loss of credit, loss of ability to purchase and benefit from credit, and the mental and

   emotional pain, anguish, humiliation and embarrassment of credit denial.

34. The conduct, action and inaction of Equifax was willful rendering Equifax liable for actual,

   statutory and punitive damages in an amount to be determined by a Judge and/or Jury

   pursuant to 15 U.S.C. § 1681n.

35. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax in an

   amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.
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   WHEREFORE, Plaintiff, Shmuel Perl, an individual, demands judgment in his favor against

Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681n.

                                 SECOND CAUSE OF ACTION
                        (Negligent Violation of the FCRA as to Equifax)
   36. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

       fully stated herein with the same force and effect as if the same were set forth at length

       herein.

   37. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681 et

       seq.

   38. Equifax violated 15 U.S.C. § 1681i(a) by failing to delete inaccurate information from the

       credit file of the Plaintiff after receiving actual notice of such inaccuracies and conducting

       reinvestigation and by failing to maintain reasonable procedures with which to verify the

       disputed information in the credit file of the Plaintiff.

   39. Equifax has negligently failed to comply with the Act. The failure of Equifax to comply

       with the Act include but are not necessarily limited to the following:

                 a) The failure to follow reasonable procedures to assure the maximum possible

                    accuracy of the information reported;

                 b) The failure to correct erroneous personal information regarding the Plaintiff

                    after a reasonable request by the Plaintiff;

                 c) The failure to remove and/or correct the inaccuracy and derogatory credit

                    information after a reasonable request by the Plaintiff;

                 d) The failure to promptly and adequately investigate information which

                    Defendant Equifax had notice was inaccurate;
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              e) The continual placement of inaccurate information into the credit report of the

                  Plaintiff after being advised by the Plaintiff that the information was inaccurate;

              f) The failure to continuously note in the credit report that the Plaintiff disputed

                  the accuracy of the information;

              g) The failure to promptly delete information that was found to be inaccurate, or

                  could not be verified, or that the source of information had advised Equifax to

                  delete;

              h) The failure to take adequate steps to verify information Equifax had reason to

                  believe was inaccurate before including it in the credit report of the consumer.

   40. As a result of the conduct, action and inaction of Equifax, the Plaintiff suffered damage by

       loss of credit, loss of ability to purchase and benefit from credit, and the mental and

       emotional pain, anguish, humiliation and embarrassment of credit denial.

   41. The conduct, action and inaction of Equifax was negligent, entitling the Plaintiff to

       damages under 15 U.S.C. § 1681o.

   42. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Equifax in an

       amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and 1681o.

   WHEREFORE, Plaintiff, Shmuel Perl, an individual, demands judgment in his favor against

Defendant, Equifax, for damages together with attorney’s fees and court costs pursuant to 15

U.S.C. § 1681o.

                                 THIRD CAUSE OF ACTION
                      (Willful Violation of the FCRA as to Verizon)

   39. Plaintiff incorporates by reference the above paragraphs of this Complaint as though fully

       stated herein with the same force and effect as if the same were set forth at length herein.

   40. This is an action for willful violation of the Fair Credit Reporting Act U.S.C. § 1681 et seq.
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41. Pursuant to the Act, all persons who furnished information to reporting agencies must

   participate in re-investigations conducted by the agencies when consumers dispute the

   accuracy and completeness of information contained in a consumer credit report.

42. Pursuant to the Act, a furnisher of disputed information is notified by the reporting agency

   when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

   furnisher must then conduct a timely investigation of the disputed information and review

   all relevant information provided by the agency.

43. The results of the investigation must be reported to the agency and, if the investigation

   reveals that the original information is incomplete or inaccurate, the information from a

   furnisher such as the Defendant must be reported to other agencies which were supplied

   such information.

44. The Defendant Verizon violated 15 U.S.C. § 1681s-2 by failing to fully and properly

   investigate the dispute of the Plaintiff; by failing to review all relevant information

   regarding same by failing to correctly report results of an accurate investigation to the credit

   reporting agencies.

45. Specifically, the Defendant Verizon continued to report this account on the Plaintiff’s

   credit report after being notified of his dispute regarding the current account status being

   currently reported as charged off.

46. As a result of the conduct, action and inaction of the Defendant Verizon, the Plaintiff

   suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit,

   a chilling effect on future applications for credit, and the mental and emotional pain,

   anguish, humiliation and embarrassment of credit denials.
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   47. The conduct, action and inaction of Defendant Verizon was willful, rendering Defendant

       Verizon liable for actual, statutory and punitive damages in an amount to be determined by

       a jury pursuant to 15 U.S.C. § 1681n.

   48. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from Defendant

       Verizon in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n.

   WHEREFORE, Plaintiff, Shmuel Perl, an individual, demands judgment in his favor against

Defendant Verizon for damages together with attorney’s fees and court costs pursuant to 15 U.S.C.

§ 1681n.

                               FOURTH CAUSE OF ACTION
                       (Negligent Violation of the FCRA as to Verizon)
   49. Plaintiff incorporates by reference the above paragraphs of this Complaint as though fully

       stated herein with the same force and effect as if the same were set forth at length herein.

   50. This is an action for negligent violation of the Fair Credit Reporting Act U.S.C. § 1681 et

       seq.

   51. Pursuant to the Act, all person who furnished information to reporting agencies must

       participate in re-investigations conducted by the agencies when consumers dispute the

       accuracy and completeness of information contained in a consumer credit report.

   52. Pursuant to the Act, a furnisher of disputed information is notified by the reporting agency

       when the agency receives a notice of dispute from a consumer such as the Plaintiff. The

       furnisher must then conduct a timely investigation of the disputed information and review

       all relevant information provided by the agency.

   53. The results of the investigation must be reported to the agency and, if the investigation

       reveals that the original information is incomplete or inaccurate, the information from a
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         furnisher such as the Defendant must be reported to other agencies which were supplied

         such information.

      54. Defendant Verizon is liable to the Plaintiff for failing to comply with the requirements

         imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2.

      55. After receiving the Dispute Notice from Equifax, Defendant Verizon negligently failed to

         conduct its reinvestigation in good faith.

      56. A reasonable investigation would require a furnisher such as Defendant Verizon to

         consider and evaluate a specific dispute by the consumer, along with all other facts,

         evidence and materials provided by the agency to the furnisher.

      57. The conduct, action and inaction of Defendant Verizon was negligent, entitling the Plaintiff

         to recover actual damages under 15 U.S.C. § 1681o.

      58. As a result of the conduct, action and inaction of the Defendant Verizon, the Plaintiff

         suffered damage for the loss of credit, loss of the ability to purchase and benefit from credit,

         a chilling effect on future applications for credit, and the mental and emotional pain,

         anguish, humiliation and embarrassment of credit denials.

      59. The Plaintiff is entitled to recover reasonable costs and attorney’s fees from the Defendant

         Verizon in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and

         1681o.

WHEREFORE, Plaintiff, Shmuel Perl, an individual, demands judgment in his favor against

  Defendant Verizon, for damages together with attorney’s fees and court costs pursuant to 15

  U.S.C. § 1681o.
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                                DEMAND FOR TRIAL BY JURY

   60. Plaintiff demands and hereby respectfully requests a trial by jury for all claims and issues

      this complaint to which Plaintiff is or may be entitled to a jury trial.



                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment from each Defendant as follows:

      a) For actual damages provided and pursuant to 15 U.S.C. § 1681o(a) be awarded for

          each negligent violation as alleged herein;

      b) For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);

      c) For Statutory damages provided and pursuant to 15 U.S.C. § 1681n(a);

      d) For Statutory damages provided and pursuant to 15 U.S.C. § 1640(a)(2);

      e) For Punitive damages provided and pursuant to 15 U.S.C. § 1681n(a)(2);

      f) For attorney fees and costs provided and pursuant to 15 U.S.C. § 1681n(a)(3), 15

          U.S.C. § 1681o(a)(2) and 15 U.S.C. § 1640(a)(3);

      g) For any such other and further relief, as well as further costs, expenses and

          disbursements of this action as this Court may deem just and proper.



Dated: August 10, 2021                                       Respectfully Submitted,

                                                             /s/ Aryeh E. Stein
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